                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      ATHENS DIVISION

USA TRUCK, INC.

              Plaintiff

v.                                                      CIVIL ACTION FILE

SULLAIR, LLC; and BRIDGESTONE                           NO.: 3:20-cv-00075-CDL
AMERICAS TIRE OPERATIONS, LLC

             Defendants

             USA TRUCK, INC.’S STATEMENT OF MATERIAL FACTS TO WHICH
               IT CONTENDS THERE IS NO GENUINE DISPUTE TO BE TRIED

            Plaintiff USA TRUCK, INC., by and through the undersigned counsel, and pursuant to

Local Rule 56, files this Statement of Material Facts as to Which it Contends There is No

Genuine Dispute to be Tried, respectfully showing the Court as follows:

                                                   1.

            Sullair designed the subject trailer (the “Sullair Trailer”), which weighed over 4,400

pounds, with “highway towable running gear” and intended the trailer to be towed on public

highways at highway speeds without brakes.1

                                                   2.

            At the time of the accident, it is undisputed that the Sullair Trailer was being towed on

Interstate 20 at highway speeds on a trip from South Carolina to Georgia.




1
       Ex. 2, Brian Tylisz 30(b)(6) Depo. on October 3, 2019, 53:6-13; 113:13-22; 130:14-
131:03; Ex. 8, Robert Carpenter Depo., 45:12-17; Ex. 1, Navendu Sharma 30(b)(6) Depo. on
August 27, 2019, 64:8-11, 88:20-25; Ex. 6, Robert Alexander Depo., 34:3-7.



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                                                      3.

            The combined weight of the Blackwells’ truck and the Sullair Trailer involved in the

accident was greater than 10,000 pounds as it was being used in interstate commerce.2

                                                      4.

            From a physics standpoint, the Sullair Trailer is no different than any other trailer.3

                                                      5.

            In the wrongful death lawsuit in Troup County Superior Court stemming from the same

accident, Sullair’s counsel admitted that, at the time of the accident, the Sullair trailer would be

considered a “commercial motor vehicle” under the “FMCSRs”, which include 49 C.F.R. §§

390.5 and 393.42.4

                                                      6.

            Sullair’s engineers concluded that brakes were necessary for the safe towing of Sullair’s

trailers.5

                                                      7.

            The 1,000 pound weight difference between the Sullair Trailer and Sullair’s “IT4” trailer

would not affect the decision of whether brakes were necessary for safe towing.6

                                                      8.

            It is undisputed that Sullair made trailer brakes a standard feature on its “IT4” trailer.7


2
            Ex. 4, Kevan Granat Depo. 151:16-152:6.
3
            Ex. 4, Kevan Granat Depo. 129:15-22; 128:4-129:9.
4
            Ex. 3, Summary Judgment Hearing Transcript, 104:16-20.
5
            Ex. 6, Alexander Depo. 32:4-32:15; 37:18-38:2.
6
            Ex. 5, Keough Depo. 143:7-13.
7
            Ex. 8, Carpenter Depo. 70:17-71:8.
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                                                     9.

            Sullair is not aware of having ever studied or analyzed whether brakes were necessary for

the safe towing of Sullair’s trailers.8

                                                     10.

            In the engineering world, it is generally understood that trailers should have trailer brakes

if the trailer weighs over 3,000 pounds.9

                                                     11.

            Sullair’s trailer design expert, James Keough, has not seen any data or research that

would suggest that a brakeless trailer over 3,000 pounds is safe to tow.10

                                                     12.

            Sullair is not aware of any research or analysis by Sullair or anyone else to determine

whether the Sullair Trailer, which weighed over 4,000 pounds, was safe to tow on public

highways without brakes.11

              This 1st day of December, 2021.

                                                  MCMICKLE, KUREY & BRANCH, LLP

                                                  By: /s/ Scott W. McMickle
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                                                     Georgia Bar No. 497779
                                                     MICHAEL P. JOHNSON
                                                     Georgia Bar No. 395055
                                                     Attorneys for Plaintiff



8
            Ex. 2, Tylisz 30(b)(6) Depo. (10/3/2019): 74:16-20; 78:14-20; 188:1-8; 205:16-206:2.
9
            Ex. 5, Keough Depo. 90:15-23.
10
            Ex. 5, Keough Depo. 147:10-14.
11
            Ex. 7, Poczekay Depo. 111:15-112:2.

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this day I electronically filed USA TRUCK, INC.’S

STATEMENT OF MATERIAL FACTS TO WHICH IT CONTENDS THERE IS NO

GENUINE DISPUTE TO BE TRIED via the Court’s CM/ECF e-filing system to the

following counsel of record:

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              This 1st day of December, 2021.

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